                                          Certificate Number: 14912-NM-DE-036188713
                                          Bankruptcy Case Number: 21-11322


                                                          14912-NM-DE-036188713




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on December 7, 2021, at 8:09 o'clock PM EST, Joel Gaffney
completed a course on personal financial management given by internet by 001
Debtoredu LLC, a provider approved pursuant to 11 U.S.C. 111 to provide an
instructional course concerning personal financial management in the District of
New Mexico.




Date:   December 7, 2021                  By:        /s/Jai Bhatt


                                          Name: Jai Bhatt


                                          Title:     Counselor




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